Case 2:05-cr-20036-STA Document 30 Filed 06/02/05 Page 1 of 2 PagelD 21

iN THE uNiTED sTATEs DlsTRlcT couRT "`"-ED E`f 061/2 o.c.
FoR THE wEsTERN DisTRicT oF TENNEssEE
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uNiTED sTATEs oF AMERicA, §§R§i= ii §§‘=c“;§p§?§

Plaintiff,

VS.
CR. NO. 05-20036-B

BOOKER T. GOLDEN,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |V|ay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of |lilondav. Ju|v 25. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oor of the
Federal Building, l\/lemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a edy tria|.
|T |S SO ORDERED this Qdayo

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20036 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

HoWard L. Wagerman
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

